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 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
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11   BURHAAN SALEH,                                CV 20-9095 PA (KSx)

12                 Plaintiff,                      JUDGMENT
13          v.
14   HUDSONS BAY COMPANY, et al.,
15                 Defendants.
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18         Pursuant to the Court’s October 19, 2020 Minute Order dismissing this action for lack
19   of prosecution and for failure to comply with a Court order,
20         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that this action is
21   dismissed without prejudice.
22         IT IS SO ORDERED.
23
24   DATED: October 19, 2020                          _________________________________
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                                                                 P   y Anderson
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25                                                             STATES
                                                        UNITED STTATES DISTRICT JUDGE
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